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                                         January 8, 2021



VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Maxwell,
               Case No. 15-cv-7433-LAP

Dear Judge Preska,

        The Original Parties write in response to the Court’s December 14, 2020, order directing
them to confer about a proposed next set of docket entries to be reviewed for unsealing. ECF No.
1179. The Original Parties have conferred and discussed ways in which the unsealing process can
move more efficiently without becoming unduly burdensome. The Original Parties therefore
present the following options to the Court.

                                        Plaintiff’s Proposal

        Plaintiff proposes beginning to address Non-Party objections in the next round of
unsealing, rather than first finishing the remaining motions that mention Doe 1 and Doe 2. The
remaining Doe 1 and Doe 2 motions mention many other Non-Parties, so they will still be reviewed
in time and, when they are reviewed, the Court can decide whether to unseal Doe 1 and Doe 2’s
names where they appear. But because Doe 1 and Doe 2 have not objected to unsealing, Plaintiff
sees no reason to continue expending resources on briefing motions as they specifically relate to
them. Further, we assume that the Non-Parties that have filed objections are eager to complete
this process and to know what may be released about them, as opposed to waiting indefinitely.

        Thus, in an effort to move expeditiously, Plaintiff proposes first addressing the objections
of Does 55, 56, 93, and 151 together. This would be efficient because the names of Does 55, 56,
and 93 only appear in motions that Doe 151’s name also appears in, so the parties and the Court
would be able to cover four Non-Parties at once. Further, this proposal would not be unduly
burdensome because (1) the objections of Does 55, 56, and 93 are very narrow and their names
only appear in a small handful of documents and (2) the majority of motions that mention Does
55, 56, 93, and 151 have already been briefed and considered by the Court in some capacity; thus,
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as to those motions, the parties would only be briefing whether the names of Does 55, 56, 93, and
151 should be unredacted in those documents and whether the names of other nonparties who have
not objected should be unredacted in those documents.

      Accordingly, Plaintiff proposes next addressing the following list of motions that mention
Does 55, 56, 93, and 151, six of which have already been briefed by the parties:

      172: Plaintiff's Motion to Exceed Presumptive Ten Deposition Limit
      199: Plaintiff's Motion for Extension of Time to Complete Depositions
      231: Defendant's Motion for Rule 37(b) & (c) for Failure to Comply with Court Order and
       Sanctions for Failure to Comply with Rule 26(a)
      279: Plaintiff's Motion for Adverse Inference Instruction
      315: Plaintiff’s Motion to Enforce Court Order and Direct Defendant to Answer Depo
       Questions
      370: Defendant’s Motion for Protective Order regarding Financial Information
      335: Plaintiff’s Motion for Protective Order for Court to Direct Defendant to Disclose
       Individuals Whom Defendant Disseminated Confidential Information
      422: Defendant’s Motion to Compel Settlement Agreement


        Addressing these motions as to these four Non-Parties expedites the Court’s review of
 documents in which the public has an interest. Defendant’s first proposal below will not make
 the Protocol more efficient for the reasons outlined above. Defendant’s second proposal will
 require changes to the Protocol because it proposes proceeding on a motion-by-motion (as
 opposed to Doe-by-Doe) basis and will also require objecting Non-Parties to file a reply brief
 each time their names appear in a motion, rather than only when they are the Doe whose materials
 are up for review. See ECF No. 1108 at p.3 ¶ 2(d).

                                       Defendant’s Proposal

        Defendant opposes a process whereby Plaintiff unilaterally and tactically seems to have
 selected certain Non-Parties to consider first in the next round of unsealing. Those particular
 Non-Parties are among many who have submitted objections, and Plaintiff offers no discernible
 basis for advancing them to the next round. Plaintiff has not demonstrated that its proposal will
 expedite the review, nor that it will be more efficient. To the contrary, Plaintiff’s ad hoc approach
 that picks and chooses among Non-Parties will more likely to lead to confusion and inefficiency
 in lieu of an orderly and logistical progression of unsealing.

       Defendant instead offers two alternatives for selecting the pleadings to consider in the next
 round, both of which would promote an orderly and fair process by which objections to unsealing
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 are heard by the Court:

       1. The Court could finish the decided motions and related pleadings that mention Does 1
          and 2. Defendant believes the following DEs, or their related pleadings, contain
          references to Does 1 and 2: 345, 356, 362, 370, 422, 468, 640. Although there are
          more than five DEs to consider, some of them are short and without significant
          redactions.

       2. Alternatively (not additionally), the Court could circle back and consider any Non-
          Party objections to the pleadings already briefed and decided. For example, the Court
          could take expedited briefing on DE 143 and its related pleadings and rule on any Non-
          Party objections that were interposed to unsealing their names in that set of documents.
          This would require amending the Order and Protocol to reflect a deviation from
          considering the motions on a Doe by Doe basis. The parties could jointly propose
          amendments to the Order and Protocol to reflect this change.



                                            Sincerely,

                                            /s/ Sigrid S. McCawley
                                            Sigrid S. McCawley

                                            /s/ Laura Menninger
                                            Laura Menninger



       cc: Counsel of Record (via ECF)
